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UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF GEORGIA

 

ANA GABRIELA ADAN-CAJIGAL,

 

PETITIONER,
CASE NO.
V. 7:20-CV-00.22
KENNETH T. CUCCINELLL, et al..,
RESPONDENTS.
CONSENT MOTION
TO REVISE
SCHEDULING ORDER

 

 

 

This Consent Motion to Revise Scheduling Order is entered into by and
between Petitioner Ana Gabriela Adan-Cajigal and the Defendants.
For the purposes of this Scheduling Stipulation, the term Defendants shall
include all individuals sued in their official capacities as set forth in the Petition.
RECITALS
Whereas on November 17, 2020, Petitioner filed a Petition for Writ of
Habeas Corpus and Declaratory and Injunctive Relief alleging retaliation,

discrimination, and prior restraint in violation of the First and Fifth Amendments

 

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and seeking protection as a witness in an ongoing federal investigation and release
pending adjudication.

Whereas on November 17, 2020, Petitioner filed a Motion for a Temporary
Restraining Order.

Whereas the U.S. Attorney’s Office for the Middle District of Georgia was
conflicted out of representing the Defendants in this case.

Whereas the U.S. Attorney’s Office for the Southern District of Georgia
entered a Notice of Appearance on behalf of the Defendants on November 18,
2020.

Whereas the Court set a hearing on Petitioner’s Motion for a Temporary
Restraining Order on November 20, 2020 at 10 a.m.

Whereas the Petitioner and Defendants are cooperating and conferring in
good faith to allow the Parties additional time to potentially amend the pleadings
and brief the issues prior to a TRO hearing.

NOW, THEREFORE, the Parties agree to the following terms and conditions:

1. Defendants and Petitioner request that this Court re-schedule the hearing on
the Motion for Temporary Restraining Order set for November 20, 2020 for
the week of November 30, 2020 or later.

2. Defendant will not remove Petitioner from the United States until the hearing

on the Motion for Temporary Restraining Order is heard, and will comply

 

 
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with the results of any such Order once issued. Specifically, the Petitioner
will not be removed from the United States until the hearing on the Motion
for Temporary Restraining Order is held or later,

. The Parties stipulate that the Defendants are served in satisfaction of Federal
Rules of Civil Procedures.

. Pending approval from the Court, the Parties agree that the Petitioner may file
a Second Amended Petition for Writ of Habeas Corpus and Declaratory and
Injunctive Relief on or before November 20, 2020.

. Pending approval from the Court, the Parties agree that the Defendants may

file a detailed Response to the Petition for Writ of Habeas Corpus and

Declaratory and Injunctive Relief (ECF No. 4) or an Amended Petition for

Writ of Habeas Corpus and Declaratory Injunctive Relief (yet to be filed) and

to the Motion for Temporary Restraining Order (ECF Nos, 1 and 5) on or

before November 24, 2020.

. Pending approval from the Court, the Parties agree that the Petitioner may file

a Reply on or before November 30, 2020.

. The Parties jointly seek to leave of the Court to continue the hearing on the

Petitioner’s Motion for a Temporary Restraining Order, and any other pending

motions, until the week of November 30, 2020, or later, at a date and time to

be set by the Court.

 

 
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Respectfully submitted, this 18"" day of November 2020,.

/s/ Tracie L, Klinke

Tracie L. Klinke

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Counsel for Plaintiff

/3/ Sheila Velez Martinez

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*A pplication for admission pro hac vice forthcoming
Counsel for Plaintiff

/s/ Jason W, Blanchard

Jason W, Blanchard

Assistant United States Attorney
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/s/ Shannon Heath Statkus

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Counsel for Defendants. United States Dietrict Court

 

 
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CERTIFICATE OF SERVICE
I hereby certify that I have this day served this Scheduling Stipulation upon
all parties in this matter by electronic service through the PACER ECF service.

This 18" day of November, 2020.

/s/ Tracie L, Klinke

Tracie L, Klinke

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